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                                          AFFIDAVIT
        1.     I, Special Agent Ian Moore, am an investigative or law enforcement officer of the
United States within the meaning of Section 2501(7) of Title 18, United States Code, in that I am
empowered by law to conduct investigations of, and to make arrests for offenses enumerated in
Section 2516 of Title 18, United States Code. I have been a Special Agent with the Federal Bureau
of Investigation (hereinafter “FBI”) since September 2015 and am currently assigned to the
Toledo, Ohio Resident Agency within the Cleveland Division of the FBI. My educational
background includes study in the fields of criminal justice and law. Prior to joining the FBI, I
served as a commissioned officer in the United States Army. During my time as an FBI Special
Agent, I have investigated a variety of violations of federal law, including investigations
concerning domestic terrorism, international terrorism, white-collar crimes, hate crimes, and
public corruption.

        2.      In the course of these investigations, I have prepared and submitted numerous
affidavits and executed associated federal search and arrest operations. The facts in this affidavit
come from my personal observations, my training and experience, and information obtained from
other agents and witnesses. This affidavit is intended to show merely that there is sufficient
probable cause for the requested warrant and does not set forth all of my knowledge about this
matter.

        3.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       4.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Michael Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

       5.      As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

       6.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
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windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

        8.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        9.     In January 2021, based on an online tip, the FBI began an investigation into whether
GABRIEL BURRESS and MADISON PETTIT were unlawfully present inside the U.S. Capitol
building on January 6, 2021. Initial background checks revealed addresses associated with
BURRESS and PETTIT in Swanton, Ohio. BURRESS had previously been encountered on
several occasions by the Swanton, Ohio police department, and accompanying police reports
included phone numbers for BURRESS of ***-***-3784 and ***-***-3220. The police report
featuring the phone number ***-***-3220 is from 2018.

        10.     Records returned during a search warrant served on AT&T to obtain certain cellular
device data pertaining to devices located in proximity of the U.S. Capitol Building on January 6,
2021 showed that the cellphone associated with ***-***-3784 made a call on January 6, 2021, to
the phone number ***-***-0924 and that during the time of the call, ***-***-0924 utilized a cell
site consistent with providing service to a geographic area that includes the interior of the United
States Capitol building.

        11.     There were 10 additional records of the cellphone associated with ***-***-0924
having utilized a cell site consistent with providing service to a geographic area that includes the
interior of the United States Capitol building on January 6, 2021 during the time surrounding the
unlawful activity at the Capitol building.

       12.     Business records from AT&T identified the subscriber of ***-***-0924 as a “M.P.”
M.P. shares a last name with, and appears to be a parent of, MADISON PETTIT based upon
records from the Ohio Bureau of Motor Vehicles (BMV).

        13.     The records reflect that the cellphone associated with ***-***-0924 was
additionally in contact with ***-***-5692 on January 6, 2021, around the time of the unlawful
entries to the U.S. Capitol. ***-***-5692 is another phone number on the same AT&T Wireless
account owned by M.P., PETTIT’s parent.

        14.     Additional background searches on PETTIT identified her as having an Ohio
driver’s license and an Ohio license plate of ***9951, which returns to a 2012 Blue Chevy Cruze.
The FBI also confirmed that BURRESS has an Ohio driver’s license and is the registered owner
of a grey 2017 Ford Fusion with the license plate ***7254.
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       15.    A Facebook search for “MADISON PETTIT” returned an account under the same
name with photographs of a female that appear to match the BMV photo of PETTIT. Several
photographs on the Facebook page depict PETTIT with a male that appears to match the BMV
photograph of BURRESS. The Facebook page indicates that PETTIT is in a “relationship” with
BURRESS. Business records from Facebook state that ***-***-0924 is associated with the
Facebook account under the name “MADISON PETTIT” and that the account is owned by an
individual named “MADISON PETTIT.”
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       16.     Additional business records received from Google and Apple identify accounts
subscribed to by a “MADISON PETTIT” to be associated with ***-***-0924. Based on all of the
foregoing, as well as the information below, your affiant believes that PETTIT was using the
cellphone associated with ***-***-0924 on January 6, 2021.

        17.   Business records from Facebook identified an account owned by a “GABE
BURRESS” that was associated with ***-***-3220. Photographs from that account appear to
depict the same male individual with a female who also appears to match the photograph on the
profile of “Madison Pettit” above, as the following comparison shows:




        18.    Business records received from Google and Apple also identify accounts associated
with a “GABRIEL BURRESS” to be associated with ***-***-3220. An Apple account associated
with Burress and the -3220 phone number has a backup email address (an email address used to
verify the Apple account) that is associated with an individual with the last name “Pettit.” That
same backup email address is also associated with the Apple and Facebook accounts under the
name “Madison Pettit” associated with the -0924 phone number. That association is further
evidence that PETTIT and BURRESS are in a relationship.

       19.     Business records received from Verizon Wireless indicate that subscriber for ***-
***-3220 is L.D. Background checks indicate that L.D. is a family member of BURRESS. The
business records from Verizon Wireless further reflect that ***-***-3784 is also subscribed to by
L.D. A pretext call placed to ***-***-3784 in April 2021 was answered by an unidentified female,
while a pretext call to ***-***-3220 went unanswered. The business records from AT&T show
that ***-***-3220 exchanged multiple text messages with ***-***-0924 on January 6, 2021.

       20.     The FBI compared photographs of PETTIT and BURRESS against images and
video captured at the U.S. Capitol on January 6, 2021. As a result of that comparison, your affiant
located and viewed a video that appears to have been taken from a security camera located within
the U.S. Capitol building on January 6, 2021. Your affiant was then able to obtain footage from
two security cameras providing coverage of the interior of the U.S. Capitol building on January 6,
2021.

       21.    Footage taken from one camera at the U.S. Capitol building on January 6, 2021
from approximately 3:01-3:04 PM ET depicts individuals that match the appearance of PETTIT
and BURRESS inside the U.S. Capitol building. The individuals matching the appearance of
PETTIT and BURRESS are observed entering the U.S. Capitol from an exterior door at
approximately 3:02-3:03 PM ET.
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        22.   The individual matching the appearance of PETTIT has blonde hair, is wearing a
dark-colored coat and ripped jeans, is at times wearing sunglasses, and is in possession of a dark
face mask. This individual remains in proximity to the male matching the appearance of
BURRESS. The male matching the appearance of BURRESS is wearing what appears to be a
brown or green hat, dark colored coat, black gloves, and carrying a dark colored backpack. The
male matching the appearance of BURRESS has his hands around the female, on her hips, for
several seconds while they walk closely together.




        23.   Footage taken from a second camera at the U.S. Capitol on January 6, 2021 between
approximately 3:10 - 3:30 PM depicts individuals that match the appearance of PETTIT and
BURRESS inside the U.S. Capitol, exiting the Rotunda area towards a common area in proximity
to a doorway between 3:12 PM and 3:17 PM.
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        24.    The following images are cropped versions of stills from the CCTV footage
identified above, and display the faces of BURRESS and PETTIT more clearly:




        25.    The individual matching the description of PETTIT appears to be talking on her
phone when she enters the U.S. Capitol, and later appears to be filming using her phone as she
enters the Rotunda of the U.S. Capitol. BURRESS is not seen utilizing a cell phone during the
time he appears within the U.S. Capitol.

       26.    On February 8, 2021, and April 28, 2021, your affiant conducted surveillance on
multiple addresses in Swanton, Ohio associated with PETTIT and BURRESS, including an
address in Swanton, Ohio. On February 8, 2021, the blue Cruze registered to PETTIT was observed
parked in the driveway of that address in proximity to the grey Ford Fusion registered to
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BURRESS. On April 28, 2021, at the same address, the blue Cruze was present and an additional
vehicle registered to BURRESS was parked along the side of the driveway.

        27.     On August 12, 2021, both BURRESS and PETTIT were interviewed outside their
residence at that same address in Swanton, Ohio. BURRESS identified himself and PETTIT in
pictures shown to him; these pictures were still frames taken from CCTV video footage from the
interior of the U.S. Capitol Building on January 6, 2021. BURRESS then admitted traveling to
the U.S. Capitol Building on January 6, 2021, with PETTIT and two other individuals. BURRESS
stated that he heard others yelling that they were charging the building. BURRESS stated that he
followed the crowd to the steps of the U.S. Capitol and was pushed into the Building by the crowd
behind him. BURRESS stated that he was inside the U.S. Capitol Building for approximately 10
minutes. BURRESS then confirmed that the ***-***-3220 number is his phone number.

        28.     PETTIT likewise identified herself and BURRESS in pictures shown to her; these
pictures were still frames taken from CCTV video footage from the interior of the U.S. Capitol
Building on January 6, 2021. PETTIT admitted entering the building with a crowd of individuals
after gates in front of them, which had been holding the protesters back, were removed. She
indicated that she heard alarms go off and felt pepper spray in her lungs. She stated she was inside
the U.S. Capitol Building for 10-15 minutes.

        29.     Based on the foregoing, your affiant submits that there is probable cause to believe
that MADISON PETTIT and GABRIEL BURRESS violated 18 U.S.C. § 1752(a)(1) and (2),
which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do so; and (2) knowingly, and with intent to impede or disrupt the
orderly conduct of Government business or official functions, engage in disorderly or disruptive
conduct in, or within such proximity to, any restricted building or grounds when, or so that, such
conduct, in fact, impedes or disrupts the orderly conduct of Government business or official
functions; or attempt or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance. As noted above, BURRESS and
PETTIT were within a posted, cordoned off, or otherwise restricted area of a building or grounds
where the Vice President was temporarily visiting on January 6, 2021.
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        30.     Your affiant submits there is also probable cause to believe that MADISON
PETTIT and GABRIEL BURRESS violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a
crime to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
of, a committee of Congress or either House of Congress, or (G) parade, demonstrate, or picket in
any of the Capitol Buildings.


                                                      _________________________________
                                                      IAN MOORE
                                                      SPECIAL AGENT, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 18th day of August, 2021.
                                                                        2021.08.18
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                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
